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                                             AMENDED
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. SACV 13-01267-JLS (JEMx)                          Date: January 15, 2014
 Title: Consumer Financial Protection Bureau v. Morgan Drexen, Inc., et al.

 Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Terry Guerrero                                                N/A
          Deputy Clerk                                              Court Reporter

   Attorneys Present for Plaintiff:                          Attorneys Present for Defendant:

            Not Present                                                Not Present

 Proceedings: (In Chambers) SCHEDULING ORDER – AMENDED (changes asterisked)

         On the Court’s own motion, the Scheduling Conference set for hearing on January 17,
 2014, is VACATED and taken off calendar, and the following dates are set. Counsel’s attention
 is directed to the Court’s Civil Trial Order filed concurrently with this Minute Order. Generally,
 motions should be set for hearing on the Court’s first available date. Counsel is advised that the
 Court does not stay discovery pending a ruling on a motion to dismiss. Finally, the dates below
 have been adjusted in accordance with the revised Order Setting Scheduling Conference (rev.
 1/14) and will not be continued absent a showing of good cause.


 Last Day to File a Motion to Add Parties and Amend Pleadings:               March 18, 2014

 Fact Discovery Cut-off:                                                    July 18, 2014*

 Last Day to Serve Initial Expert Reports:                                  August 1, 2014*

 Last Day to File Motions (excluding Daubert
 Motions and all other Motions in Limine):                                  August 1, 2014*

 Last Day to File Rebuttal Expert Reports:                                  August 29, 2014*

 Last Day to Conduct Settlement Proceedings:                                 September 19, 2014*

 Expert Discovery Cut-off:                                                   September 26, 2014*

 Last Day to File Daubert Motions:                                          October 6, 2014*


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                          CIVIL MINUTES – GENERAL                            1
Case 8:13-cv-01267-JLS-JEM Document 41 Filed 01/15/14 Page 2 of 2 Page ID #:1085



                                          AMENDED
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. SACV 13-01267-JLS (JEMx)                          Date: January 15, 2014
 Title: Consumer Financial Protection Bureau v. Morgan Drexen, Inc., et al.

 Last Day to File Motions in Limine (excluding
 Daubert motions):                                                    October 24, 2014

 Final Pretrial Conference (1:30 p.m.):                               November 21, 2014

 Last Day to File Proposed Findings of
 Fact and Conclusions of Law:                                         December 5, 2014

 Exhibit Conference (3:30 p.m.):                                      December 5, 2014

 Bench Trial (9:00 a.m.):                                             December 9, 2014

 Trial Estimate:                                                      10 days



                                                         Initials of Preparer: JR




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                          CIVIL MINUTES – GENERAL                            2
